                     IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF ALABAMA
                                NORTHERN DIVISION

In the Matter of:                                   )
                                                    )
WILLIAM BARRIER ROBERTS                             )       CASE NO. 18-83442-CRJ7
SSN: XXX-XX-9314                                    )
                                                    )       CHAPTER 7
       Debtor.                                      )
                                                    )
                                                    )
TAZEWELL T. SHEPARD, as Trustee for,                )       ADVERSARY NO. 21-80040-CRJ
the Chapter 7 Bankruptcy Estate of William          )
Barrier Roberts,                                    )
                                                    )
      Plaintiff,                                    )
                                                    )
v.                                                  )
                                                    )
ROSCOE OWEN ROBERTS, in his capacity,               )
as Personal Representative of William Barrier       )
Roberts, deceased,                                  )
                                                    )
     Defendant.                                     )

         ROSCOE OWEN ROBERTS’ ANSWER TO TRUSTEE’S COMPLAINT
            FOR DENIAL OF THE DEBTOR’S CHAPTER 7 DISCHARGE

       COMES NOW, Roscoe Owen Roberts, in his capacity as personal representative of

William Barrier Roberts, deceased (“Defendant”), by and through undersigned counsel, and files

his Answer to Chapter 7 Trustee, Tazewell T. Shepard’s (“Plaintiff’s”) Complaint for Denial of

the Debtor’s Chapter 7 Discharge, denying each and every material allegation contained in said

Complaint, and demanding strict proof thereof. In further answer, Defendants respond paragraph

by corresponding paragraph, as follows:

                                          Background

1.     Paragraph 1 does not require a response from this Defendant, but to the extent that a

       response is necessary, any allegations in paragraph 1 are denied.



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2.    Paragraph 2 does not require a response from this Defendant, but to the extent that a

      response is necessary, any allegations in paragraph 2 are denied.

3.    Defendant admits the allegations contained in paragraph 3 for jurisdictional purposes only.

                                       Pertinent Facts

A.    Debtor’s Failure to Disclose Assets During His Chapter 11 Case.

4.    Defendant is without sufficient information to admit or deny the allegations in paragraph

      4 and, therefore, denies the same.

5.    Defendant is without sufficient information to admit or deny the allegations in paragraph

      5 and, therefore, denies the same.

6.    Defendant is without sufficient information to admit or deny the allegations in paragraph

      6 and, therefore, denies the same.

7.    Defendant is without sufficient information to admit or deny the allegations in paragraph

      7 and, therefore, denies the same.

8.    Admitted to the extent that the Court’s docket shows an Order entered on April 20, 2020;

      however, Defendant is without sufficient information to admit or deny any remaining

      allegations in paragraph 8 and, therefore, denies the same.

9.    Admitted to the extent that the Court’s docket shows that Debtor filed a report on May 11,

      2020 at ECF Doc. 350; however, Defendant is without sufficient information to admit or

      deny any remaining allegations in paragraph 9 and, therefore, denies the same.

10.   Defendant is without sufficient information to admit or deny the allegations in paragraph

      10 and, therefore, denies the same.

11.   Defendant denies the allegations contained in paragraph 11, and demands strict proof

      thereof.




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B.    Debtor’s Transfer of Assets to the Trust.

12.   To the extent that paragraph 12 requires a response from this Defendant, the allegations in

      paragraph 12 are denied, and Defendant demands strict proof thereof.

13.   Admitted.

14.   Defendant denies the allegations contained in paragraph 14, and demands strict proof

      thereof.

15.   Defendant denies the allegations contained in paragraph 15, and demands strict proof

      thereof.

16.   Defendant denies the allegations contained in paragraph 16, and demands strict proof

      thereof.

                                          COUNT ONE
                                        Denial of Discharge

17.   Defendant hereby adopts and incorporates by reference the responses set forth hereinabove

      as if fully set forth herein.

18.   Paragraph 18 does not require a response from this Defendant, but to the extent that a

      response is necessary, any allegations in paragraph 18 are denied.

19.   Paragraph 19 does not require a response from this Defendant, but to the extent that a

      response is necessary, any allegations in paragraph 19 are denied.

20.   Paragraph 20 does not require a response from this Defendant, but to the extent that a

      response is necessary, any allegations in paragraph 20 are denied.

A.    Debtor’s Transfer of Assets During His Case.

21.   Paragraph 21 does not require a response from this Defendant, but to the extent that a

      response is necessary, any allegations in paragraph 21 are denied.

22.   To the extent that paragraph 22 requires a response from this Defendant, the allegations in



                                                 3

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      paragraph 22 are denied, and Defendant demands strict proof thereof.

23.   Defendant denies the allegations contained in paragraph 23, and demands strict proof

      thereof.

24.   The allegations in Paragraph 24 are legal conclusions; however, to the extent a response is

      required of this Defendant, the allegations contained in Paragraph 24 are denied, and

      Defendant demands strict proof thereof.

B.    Debtor’s False Statements.

25.   To the extent that paragraph 25 requires a response from this Defendant, the allegations in

      paragraph 25 are denied, and Defendant demands strict proof thereof.

26.   To the extent that paragraph 26 requires a response from this Defendant, the allegations in

      paragraph 26 are denied, and Defendant demands strict proof thereof.

27.   To the extent that paragraph 27 requires a response from this Defendant, the allegations in

      paragraph 27 are denied, and Defendant demands strict proof thereof.

28.   To the extent that paragraph 28 requires a response from this Defendant, the allegations in

      paragraph 28 are denied, and Defendant demands strict proof thereof.

29.   The allegations in Paragraph 29 are legal conclusions; however, to the extent a response is

      required of this Defendant, the allegations contained in Paragraph 29 are denied, and

      Defendant demands strict proof thereof.



                                AFFIRMATIVE DEFENSES

      In further response to the Plaintiff’s Complaint, Defendant states as follows:

1.    Plaintiff ought not recover on the grounds that the Complaint fails to state a claim upon

      which relief can be granted.




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2.     Plaintiff ought not recover on the Complaint on the grounds that the claims asserted therein

       are barred under the doctrines of waiver and estoppel.

3.     Plaintiff’s claims are barred under the doctrine of laches.

4.     Plaintiff ought not recover on the Complaint on the grounds that the claims asserted therein

       are barred under the doctrine of justification.

5.     Some affirmative defenses have been pled in the alternative and/or for purposes of non-

       waiver and nothing in the affirmative defenses shall be deemed an admission by Defendant.

6.     Defendant reserves the right to amend this pleading and assert such further and additional

       defenses that Defendant becomes aware of during the course of this proceeding upon

       further investigation and discovery.



       WHEREFORE PREMISES CONSIDERED, Defendant Roscoe Owen Roberts

respectfully requests that this Honorable Court deny the relief sought by Plaintiff in the Complaint,

plus grant Defendant such further and additional relief as this Court deems just and proper.



       Respectfully submitted this the 18th day of October, 2021.


                                                         /s/ Kevin D. Heard
                                                         Kevin D. Heard

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                               CERTIFICATE OF SERVICE

       I hereby certify that on the 18th day of October, 2021, I served a copy of the foregoing
document on the parties listed below via electronic mail at the e-mail address below, unless the
party being served is a registered participant in the CM/ECF System for the United States
Bankruptcy Court for the Northern District of Alabama, service has been made by a “Notice of
Electronic Filing” pursuant to FRBP 9036 in accordance with subparagraph II.B.4. of the Court’s
Administrative Procedures as indicated below:

Notice will be electronically mailed to:
Richard M Blythe Richard_Blythe@alnba.uscourts.gov; courtmaildec@alnba.uscourts.gov
Stuart M Maples smaples@mapleslawfirmpc.com; kmanning@mapleslawfirmpc.com
Tazewell Shepard tshepard@ecf.axosfs.com; janelle@ssmattorneys.com
Tazewell Taylor Shepard, IV ty@ssmattorneys.com

Notice will not be electronically mailed to:

                                                   /s/ Kevin D. Heard
                                                   Kevin D. Heard




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